Case 2:17-cv-07727-PSG-JEM Document 80 Filed 05/21/18 Page 1 of 20 Page ID #:1408



1  BARRY ROSEN
~~ 136 S. Clark Dr. #5                                                            ~,y
   Los Angeles, CA 90048            ~~~~ ~~
3                                                                         ~~
   Tel: (323) 653-2043              -~~~~-~                                    ~- ;~ ~= s
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5                                                                              E..~~_
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      Plaintiff In Pro Per                                                                           O
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7                                                                                           __   ~
                               UNITED STATES DISTRICT COURT
s
                             CENTRAL DISTRICT OF CALIFORNIA
9

io               BARRY ROSEN,                      Case No. 17-CV-07727-PSG-JEMx
i i Individually and as a Private Attorney         Honorable Philip S. Gutierrez
    General
is               Petitioner and Plaintiff,         PLAINTIFF BARRY ROSEN'S
13                                                 NOTICE OF MOTION AND
                             vs.                   MOTION FOR PARTIAL
14
                                                   SUMMARY JUDGMENT
is UNITED STATES GOVERNMENT,
   FEDERAL AVIATION                                Filed concurrently herewith:
16
   ADMINISTRATION, AND CITY OF                         Declaration of Barry Rosen;
i~ SANTA MONICA,                                       Request for Judicial Notice,
ig             Respondents and                         Plaintiffs Statement of
   Defendants.                                         Uncontroverted Facts; (Proposed
19                                                     Order)
Zo
                                                   Hearing Date: July 9, 2016
21
                                                   Time: 1:30 PM
22                                                 Courtroom: 6A —West First St
                                                   Courthouse
~~~
~~■
Zs
26
      'TU THE I~C~N(~RABLE COURT AND TU ALL PARTIES:

a~    PLEASE TAKE NOTICE that on July 9, 2018 at 1:30pm,

as    or as soon thereafter as this matter may be heard in the above-entitled Court
                        PLAINTIFF'S MOTION FOR PARTIAL SUMMARY JUDGMENT

                                               1
Case 2:17-cv-07727-PSG-JEM Document 80 Filed 05/21/18 Page 2 of 20 Page ID #:1409



 1
      located at First Street Courthouse, 350 West 1st Street, Courtroom 6A,6th Floor,
2
     Los Angeles, California 90012-4565, the plaintiff in this case will move this Court
3
     for Partial Summary Judgment, pursuant to Federal Rule of Civil Procedure 56 and
4
      Local Rule 56-1.
s
            This motion is based on this notice, the memorandum of points and
6
      authorities filed herein, the declarations) filed by Plaintiff, the e~ibits filed herein
      the statement of uncontroverted facts and conclusions oflaw, Plaintiff's Third
s
9
      Amended Petition for Writ of Mandate and Complaint for Declaratory Relief,

10
      along with the other pleadings previously filed in this action, and any oral

ii    argument permitted at the hearing on this motion.

is          This motion is made following the conference of counsel pursuant to Local
13    Rule 7-3, which took place on April 16, 2018 (Declaration of Barry Rosen ¶ 2).
14

15   ~ ~ Dated: May 21, 2018
16

~~                                                   By:
                                                     Barry Rosen,In Propria Persona
ig                                                   Plaintiff
19

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                         PLAINTIFF'S MOTION FOR PARTIAL SUMMARY JUDGMENT

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Case 2:17-cv-07727-PSG-JEM Document 80 Filed 05/21/18 Page 3 of 20 Page ID #:1410



1                                     TABLE OF CONTENTS
a
               MEMORANDUM OF POINTS AND AUTHORITIES.................................... 6~
3

4
               I. INTRODUCTION.........................................................................................
5
               II. STANDARD OF REVIEW............................................................................
6

7              III. FACTUAL AND PROCEDURAL HISTORY.........................................
8
               A.     Invalid Contract with Outside Counsel .......................................
9

10             B.      Santa Monica bad absolutely no right to bring an Action pursuant to
11
               U.S.C.§ 2675,Et A1......................................................................10
12
               C.      The Court Lacked Jurisdiction over CSM's Action .......................11
13

14             D.      The Decree is Invalid ab initio FAA Overstepped its Authority........ 13
15
               E.      Lack of authority for the parties to enter into the Decree ................1
16

17             F.      Plaintiffs Standing to Bring this Action .....................................1
18
               IV. CONCLUSION..........................................................................................
~9

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                     PLAINTIFF'S MOTION FOR PARTIAL SUMMARY JUDGMENT

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Case 2:17-cv-07727-PSG-JEM Document 80 Filed 05/21/18 Page 4 of 20 Page ID #:1411



 1                                                          TABLE OF AUTHORITIES
z
3                               CASES

4    Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248(1986); Celotex Corp. v. Catrett, 477 U.S. 317, 322 (1986).......f

5    Black Gold Marine, Inc. vs. Jackson Marine Co.(5th Cir. 1985)759 F2d 466,471 .....................................................7

6    Centerfor Biological Diversity vs. Kempthorne (9th Cir. 2009)588 F.3d 701, 707-708 ............................................lt

7    City ofGlendale vs. Trondsen (1957)48 Cal.2d 93, 98 ...............................................................................................1~

8    Davidson vs. Sup. Ct. (City ofMendota)(1999)70 Ca1.App.4th 514, 528 ..................................................................1 ~

9    Kansas vs. United States (10th Cir. 2001)249 Fad 1213, 1225 ..................................................................................1:

10   KRL v. Moore, 384 F. 3d 1105, 1110 (9th Cir. 2004)....................................................................................................'

11   Lane vs. Pena(1996)518 US 187, 190 ..........................................................................................................................!
12   Montara Water and Sanitary Dist. vs. County ofSan Mateo(N. D. Cal., 2009)598 F. Supp.2d 1070, 1076.........5, 1:

13   NRDC, Inc. vs. FAA (2nd Cir. 2009)564 F.3d 549, 555 ..............................................................................................1'

14   Taylor v. List, 880 F. 2d 1040, 1045 (9th Cir. 1989)......................................................................................................'

IS   Wright v. Gregg 685 F.2d 340 (9th Circuit 1982)........................................................................................................1 ~

16
                                STATUTES
17

18   28 U.S.0 § 2401 ..............................................................................................................................................................!

19   28 U.S.C. § 2675.............................................................................................................................................................'

20   28 U.S.C. 2401(b).........................................................................................................................................................li

21   28 U.S.C. 2409a~g).........................................................................................................................................................!

22   28 U.S.C. 2409a(m)........................................................................................................................................................!

23   CA Government Code § 54950 et seq ............................................................................................................................'

24   Fed. R. Civ. P. 56............................................................................................................................................................'

25   Fed. R. Civ. P. 56(a) .......................................................................................................................................................~

26
                                OTHER AUTHORITIES
27
     § 2.24.073 ofthe Municipal Code ..................................................................................................................................
28
                                         PLAINTIFF'S MOTION FOR PARTIAL SUMMARY JUDGMENT

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Case 2:17-cv-07727-PSG-JEM Document 80 Filed 05/21/18 Page 5 of 20 Page ID #:1412



 1   § 608 ofthe City Charter ................................................................................................................................................1

2    2.24.073 of the Municipal Code .....................................................................................................................................1

3    California Government Code Section 54956................................................................................................................1:

4    Charter section 613 .......................................................................................................................................................1:

5    City Charter section 640 ...............................................................................................................................................1'
6    Section 1.04.020 ofthe Santa Monica Municipal Code ...............................................................................................1:

7    Section 1.04.020(a) ofthe Santa Monica Municipal Code ...........................................................................................1:

8    Section 1302 ofthe Santa Monica City Charter ...........................................................................................................1:

9    Section 613 of Santa Monica City Charter ...................................................................................................................1:

10
                                RULES
11
     Local Rule 7-3.................................................................................................................................................................~
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                                         PLAINTIFF'S MOTION FOR PARTIAL SUMMARY JUDGMENT

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Case 2:17-cv-07727-PSG-JEM Document 80 Filed 05/21/18 Page 6 of 20 Page ID #:1413




              MEMORANDUM OF POINTS AND AUTHORITIES
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3    I.           INTRODUCTION.
4
             This action seeks in part to invalidate the 2017 Settlement Agreement /
5
     Consent Decree("Decree") by and between the Federal Aviation Administration
6
     ("FAA")and City of Santa Monica("City") related to the Santa Monica Airport;

 a    plaintiff alleges in his verified third amended petition for writ of mandate and

 9 complaint for declaratory relief that the Decree lacks any force at law, was entered
io into under invalid authority by the FAA and City and is invalid and void ab initio,
ii    due to numerous violations of various discretionary as well as ministerial
12    obligations on the part ofthe FAA and City (collectively the "Defendants");
13   further the Decree was entered into, at a time when the federal executive branch
14    was in transition and the signatory parties lacked authority from their governing
15    respective bodies; in addition, the two public bodies, a federal agency and a
16    municipality demonstrated a complete lack of public transparency that is not only
17    expected but is demanded ofthem under the law.
is          In an attempt to be sneaky, the persons who where the signatories on the
19
      Decree for both the FAA and the City lacked any legal authority to do so and thus
20
      the Decree and actions taken pursuant to the Decree are invalid and void ab initio
21
      as further described herein.
22
            Next, the City first violated the public trust when it improperly hired outside
23
      attorney's in violation of its own City Charter and related Municipal Codes)to
24
      bring a lawsuit and then improperly filed the lawsuit(13-CV-08046-JFW-VBKx)
25
      ~u~thcut first having filed an administrative claim with the United States
26
      Government(or the proper agency thereof and waiting six months pursuant to 28
a~
      U.S.C. § 2675 ofthe Federal Tort Claims Act("FTCA")et al. As a result the City
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                       PLAINTIFF'S MOTION FOR PARTIAL SUMMARY JUDGMENT

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Case 2:17-cv-07727-PSG-JEM Document 80 Filed 05/21/18 Page 7 of 20 Page ID #:1414




      was forever precluded from bringing and action pursuant to 28 U.S.0 § 2401 and
2
     thus the court lacked jurisdiction over the matter due to the failure to present such
3
      claim and would have been obligated to dismiss. But for the fact that the court w~
4
      never presented with the appropriate facts due the negligence ofthe US Attorney
 s
      handling the case, and illegal Decree was entered into by the Defendants, forcing
6
     Plaintiff to now seek to rectify the situation as and affected and beneficial party.
             As is abundantly clear in this motion, the FAA clearly lacked and
 s
9
      overstepped its authority in entering into the Decree as no executive non-attorney

io    signatory authorized execution; further the FAA lacked any authorization from the

ii    Secretary of the FAA pursuant to any provision ofthe United States Code("USC";
la    Moreover as noted in Montana Water and Sanitary Dist. vs. County ofSan Mateo

13   (N. D. Cal., 2009)598 F. Supp.2d 1070, 1076,the FAA lacked the authority to
14   fully release the airport from the 1948 Instrument of Transfer, as such relief could
is    only be granted by an act of Congress—such an act has never been authorized due
16    to the shortage of airports such as the Santa Monica Airport.
i~          Finally, Plaintiff further seeks to invalidate the Decree due to the fact the
is    City too lacked any signatory authority under its own Charter; further there was
19    improper notice was given to the public ofthe January 28, 2016 City Council
Zo    meeting, precluding the public from being availed due process; in addition, the
21
      members allegedly at the closed session meeting, including the Mayor "Ted"
a2
      Winterer, were precluded from authorizing the City Manager to sign the Decree in
23
      a closed session; the action approving the Decree required an open session action
24
      and vote to approve the Decree under its own Charter section as well as a vote to
2s
      override and confirm Mavor Winterer's conflict ofinterest: the Citv's own Charter
26
     required compliance with the City's Charter section 640 which would prohibit a
2~
      closed session action to approve the Decree; in addition, both the California
Za
                       PLAINTIFF'S MOTION FOR PARTIAL SUMMARY JUDGMENT

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Case 2:17-cv-07727-PSG-JEM Document 80 Filed 05/21/18 Page 8 of 20 Page ID #:1415



 1
     Political Reform Act and more stringent provisions under Section 1302 ofthe
2
     Santa Monica City Charter require Mayor Winterer to recuse himself in open
3
     session and the City Council vote, without the recused Mayor, to approve the
4
     Decree by resolution and authorize the City Manager to sign the Decree; Charter
s
     section 704 prohibits the City Manager to sign the Decree as the power was
6
     expressly reserved by the City Council under Charter section 640—there was no
     resolution adopted in open session, or otherwise, demonstrating the City Council
 g
 9 conformed with Charter section 640 and authorized the City Manager.
io II.  STANDARD OF REVIEW

ii          Summary judgment is appropriate if there is no genuine issue as to any

t2   material fact and the moving party is entitled to judgment as a matter oflaw. See
13   Fed. R. Civ. P. 56(a). The moving party bears the initial burden of establishing
14   there is no genuine issue of material fact. See Anderson v. Liberty Lobby,Inc., 47;
15   U.S. 242, 248(1986); Celotex Corp. v. Catrett, 477 U.S. 317, 322(1986). To
16   defeat the motion for summary judgment, the responding party must present
     admissible evidence sufficient to establish any ofthe elements that are essential to
is   the moving party's case and for which that party will bear the burden of proof at
]9   trial. See id.; Taylor v. List, 880 F. 2d 1040, 1045 (9th Cir. 1989). The Court may
20   grant summary judgment if the motion and supporting materials, including the
Zt
     facts considered undisputed, show the movant is entitled to summary judgment anc
22
     ifthe responding party fails to properly address the moving party's assertion of fac
23
     as required by Rule 56(c). See Fed. R. Civ. P. 56(e).
24
            The responding party cannot point to mere allegations or denials contained
Zs
     I~ in the pleadings. It is not enough for the non-moving party to produce a mere
26
     "scintilla" of evidence. Celotex Corp., at 252. Instead, the responding party must
2~
     set forth, by affidavit or other admissible evidence, specific facts demonstrating
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                       PLAINTIFF'S MOTION FOR PARTIAL SUMMARY JUDGMENT

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Case 2:17-cv-07727-PSG-JEM Document 80 Filed 05/21/18 Page 9 of 20 Page ID #:1416




     existence of an actual issue for trial. See KRL v. Moore, 384 F. 3d 1105, 1110(9th
2
     Cir. 2004).
3

4
     III. FACTUAL AND PROCEDURAL HISTORY
s
6          A.      Invalid Contract with Outside Counsel
           In the fall of2013, the Santa Monica City Attorney, Marsha Moutrie hired
s    an outside law firm (Morrison & Foerster) to bring a lawsuit against the FAA on
9
     behalf of the City of Santa Monica. Pursuant to § 608 ofthe City Charter and §
io
     2.24.073 of the Municipal Code,the City Attorney had to meet certain obligations
ii
     in order to hire outside counsel, including but not limited to conducting a
iz
     competitive search process via requests for proposals("RFP")or otherwise by the
13
     express approval ofthe City Council(TAC ¶30, RFJN 1).
14
           Plaintiff sought to obtain records pursuant to the California Public records
is
     Act(CA Government Code § 54950 et seq)to see if the City Attorney had met the
16
     obligations for hiring outside counsel Pursuant to § 608 of the City Charter and §
i~
     2.24.073 ofthe Municipal Code. No documents whatsoever were produced to
is
     demonstrate that the City Attorney had complied with all obligations required for
19

Zo   hiring outside counsel or that the City Council had approved such a contract.

ai   Plaintiff has also done a search ofthe service (PlanetBids) the City uses to for the

as   dissemination of its RFP, but has been unable to find any proof of compliance with

23   2.24.073 of the Municipal Code(TAC ¶31; Declaration of Barry Rosen ¶¶3-6,

24   Exhibits 1 and 2).
25         During the 3 meet and confers held pursuant to Local Rule 7-3, Plaintiff has
26   requested that the City provide documents demonstrating compliance, but no such
27   documents were ever produced. Even it's Rule 12 motion filed on Apri123, 2018,
28
                      PLAINTIFF'S MOTION FOR PARTIAL SUMMARY JUDGMENT

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Case 2:17-cv-07727-PSG-JEM Document 80 Filed 05/21/18 Page 10 of 20 Page ID #:1417




     the City makes a claim that it "did not improperly hire outside counsel," yet still
2
     fails to produce any documents demonstrating compliance with § 608 ofthe City
 3
     Charter or § 2.24.073 of the municipal code (Declaration of Barry Rosen ¶¶7-8).
4
           After multiple requests for documents and the City's failure to produce them
 5
     even in response to litigation, It now is clear to Plaintiff that that the City has no
6
     documents that demonstrate that the City Attorney conducted a competitive search
     pursuant to her obligation under § 2.24.073 ofthe municipal code, nor sought the
 s
 9 express approval of the City Council as required by § 608 ofthe City Charter. As
io a result, the City had no authority to contract with Morrison & Foerster and all
ii   work product resulting therefrom, including the lawsuit itself(and later appeal)

t2   were invalid ab initio (Declaration of Barry Rosen ¶9, Dkt 60). It is proper for this
13   Court to declare this contract to resolve this dispute and declare the City's hiring
14   and contractual relationship with Morrison & Foerster invalid, particularly as there
15   are no longer any attorneys at Morrison & Foerster who prosecuted this action.
16   Black Gold Marine, Inc. vs. Jackson Marine Co.(5th Cir. 1985)759 F2d 466,471.
i~         It is now undisputed that because the City failed to comply with any of its
is   obligations in contracting with Morrison & Foerster to bring a lawsuit on behalf of
19   the City, the contract should now be struck down by the invalid ab initio, along
ao   with all work product, including the initial complaint and appeal related thereto
21
     due the City's failure to comply with its own City Charter and Municipal Code in
Za
     contracting with outside counsel.
23
     B.     Santa Monica had absolutely no            t to bring an Action pursuant to 28
24
                                      U.S.C.§ 2675, Et Al.
25
     Prig t~ bringing ~h~ ~typ~ ~f Action that was brought, the City was r~quir~d t~ fle
26
     a claim with the "appropriate government agency" and wait six(6)months
27
     pursuant to FTCA,28 U.S.C. § 2675, et al before bringing such an action.
zg
                       PLAINTIFF'S MOTION FOR PARTIAL SUMMARY JUDGMENT

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Case 2:17-cv-07727-PSG-JEM Document 80 Filed 05/21/18 Page 11 of 20 Page ID #:1418




     to 28 U.S.C. 2409a(m), the City, like the State, would be required to notify the
 a
     FAA six(6) months prior to filing its suit; 28 U.S.C. 2409a(g), also serves as a bar
 3
     to the relief sought. Without ever having filed such claims and e~austed
 4
     administrative remedies, it is well settled in case law that the City was precluded
 5
     from bringing such a claim pursuant to 28 U.S.0 § 2401, pursuant to the doctrine
 6
     of"sovereign immunity". There must be an unequivocal expression of elimination
     of sovereign immunity. Lane vs. Pena(1996)518 US 187, 190.
 s
 9
           As discussed above, such an administrative claim under both 28 U.S.C. §§

io 2675(a) and 2409a(m), would need to have been filed with the appropriate
ii agency/agencies. In this instance, the appropriate agency at a minimum was the
12   GSA (successor to the War Assets Administration).
13         It is undisputed that the City never filed such an administrative claim (or
14   claims) under 28 U.S.C. § 2675, 2409a(m), et al, prior to bringing the Action at
15   issue and was therefore precluded from bringing such an Action (Declaration of
16   Barry Rosen ¶11, RFJN 5). Absence of such and administrative claim divests both
i~   the FAA and City from the force oflaw sought under the Decree; in other words,
tg   the Court, FAA,and City had no authority without the claim filing a priori.
i9         Plaintiff is informed and believes that the Action should now be struck
Zo   as invalid ab initio due the CSM's failure file an administrative claim with the
2t
     appropriate agency (or agencies) and/or exhaust all administrative options prior to
22
     commencing the Action.
23
                C.     The Court Lacked Jurisdiction over CSM's Action
24
           The requirement that a claim be asserted administratively(28 U.S.C. § 2675,
Zs
     28 U.S.C. ~ 2409a(mll is iurisdictional and must be properly framed in the
26
     complaint(Rule 8(a), F.R.C.P.). It should allege that an administrative claim was
2~
     asserted and was either denied or that after a period of6 months the agency
Za
                      PLAINTIFF'S MOTION FOR PARTIAL SUMMARY JUDGMENT

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Case 2:17-cv-07727-PSG-JEM Document 80 Filed 05/21/18 Page 12 of 20 Page ID #:1419




     concerned failed to make final disposition of the claim. Without such proper
 2
     framing and allegation, the Court fully lacks jurisdiction over the action see Wright
 3
      v. Gregg 685 F.2d 340(9th Circuit 1982).
 4
      It is undisputed that the City of Santa Monica failed to allege in its complaint that
 5
     an administrative claim was asserted, because it never filed such a claim. As a
 6
     result, the court fully lacked jurisdiction over the Action (Declaration of Barry
     Rosen ¶¶10-11, RFJN 5).
 a
 9
            Where the facts disclose that an administrative claim has not been filed or

io finally acted upon, the U.S. Attorney has an obligation to advise the plaintiffs
i t counsel, in writing, ofthe jurisdictional defect in the action, request that the
is    plaintiff take a voluntary nonsuit, and advise that unless this is done within 10 days
13   the United States will be obliged to move to dismiss the action for failure to pursue
14    and e~aust the administrative remedy. This also give rise to a question as to the
is    application ofthe statute of limitations in 28 U.S.C. 2401(b).
16          But for the negligence ofthe U.S. Attorney handling the matter, neither the
i~   City nor the Court were advised ofthe jurisdictional defect in the Action. Had the
is   Court been properly afforded the opportunity to have knowledge ofthe
i9 jurisdictional defect, it would have dismissed the action for failure to pursue and
Zo exhaust the administrative remedy pursuant to the City's obligation to do so
21
     (Declaration of Barry Rosen ¶13).
az
            Plaintiff is informed and believes that the Action should now be struck
23
     as invalid ab initio due to both the City's failure file an administrative claim with
24
     the appropriate agency (or agencies) and/or e~aust all administrative options pric
Zs
     to commencing the Action and the failure U.S. Attorney to properly perform his
26
      duties. Approval ofthe Decree does not resolve the sovereign immunity problem
a~
      in light ofLane vs. Pena (1996)518 US 187, 190.
as
                       PLAINTIFF'S MOTION FOR PARTIAL SUMMARY JUDGMENT

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Case 2:17-cv-07727-PSG-JEM Document 80 Filed 05/21/18 Page 13 of 20 Page ID #:1420




      D.    The Decree is Invalid ab initio because FAA Overstepped its Authority
 2
            As discussed above, the 1948 Instrument of Transfer(RFJN 6)demonstrates
 3
     that the contract was between the City of Santa Monica and the War Assets
 4
     Administration (the successor of which is the General Services Administration)
 s
     and not with the FAA and that the full relief sought under 13-CV-08046-JFW-
 6
     VBKx could never has been granted the FAA as it would actually take an act of
     congress to fully release the airport from obligations under the 1948 instrument of
 s
 9 transfer pursuant to the War Surplus Act of 1944, et al.
io        In a case involving the Half Moon Bay Airport, the Federal government

ii   successfully asserted its interest against a water district and set out relevant

12   precedent as they too had roughly similar covenants as before the Court;
13   furthermore and in line with that case, the City's attempt to quiet the Federal
14   government's interest in the Santa Monica Airport may not even squarely fit inside
15   the quiet title act as the City and FAA had a dispute on the status of the airport and
16   not title per se. Montana Water and Sanitary Dist. vs. County ofSan Mateo(N. D.
i~   Cal., 2009)598 F. Supp.2d 1070, 1076 citing Kansas vs. United States (10th Cir.
ig   2001)249 F.3d 1213, 1225 (disputes concerning the status are not title disputes).
i9         It is abundantly clear that the FAA does not have any authority to allow
Zo   closure of an airport as was improperly agreed to in the Decree. As illustrated in
zi   Montana, it was the intent of Congress that airports subject to War Surplus Act
22
     instruments of transfer (like Santa Monica Airport) were to be operated as an
23
     airport in perpetuity. Only pursuant to an act ofthe US Congress would there be
24
     any authority to fully release Santa Monica from obligations under the 1948
25
     Instrument of Transfer that the Airport be operated as an airport in perpetuity. As
26
     Congress has never taken such action, no authority exists/existed that would allow
27
     for a release of such obligations (i.e. allow for closure of the airport).
as
                       PLAINTIFF'S MOTION FOR PARTIAL SUMMARY JUDGMENT

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Case 2:17-cv-07727-PSG-JEM Document 80 Filed 05/21/18 Page 14 of 20 Page ID #:1421




           It is also very clear that under 1948 Instrument of Transfer, in order to effect
 2
     any release of lands at all, a payment shall be made to the War Assets
 3
     Administration or successor thereto for the removal of such restrictions(RFJN 6,
4
     paragraph numbered as 6). It is also clear that no such payments or any
 5
     consideration thereof(or waiver thereof was included in the Decree and therefore
 6
     without such provisions for payment, etc. to the General Services Administration,
     the any release of lands are fully invalid(RFJN 12). Moreover, it is clear that the
 s
 9
     GSA did not sign off on the agreement, nor did the administrator of the FAA, who

io   was sued in his official capacity(RFJN 12).

ii         Plaintiff believes because FAA is not a party to the 1948 Instrument of

12   Transfer and because the FAA overstepped its authority in releasing the entire
13   Airport and its lands from the 1948 Instrument of Transfer, when it clearly had no
14   right to do so, the entire Decree should now be struck down as invalid.
is           E.     Lack of authority for the aarties to enter into the Decree
16         1.Issues related to the City of Santa Monica
i~         The City of Santa Monica first and foremost lacked authority to approve of
is   the settlement agreement/consent decree at the January 28, 2017 City Council
19   meeting due in part to the fact that improper notice ofthe meeting was purportedly
Zo   given to the general public. According the agenda for January 28, 2017(RFJN Ex
21
     8), the City Council the meeting was listed as being held at 1855 Main St, East
22
     Wing on Saturday January 28, 2017, yet the minutes ofthat meeting(RFJN 8),
23
     reflect that it was held in the City Council Chambers at 1685 Main St. Because the
24
     meeting was apparently moved and the public was given the wrong information
Zs
     about the location ofthe meeting, the meeting should not and could not have been
26
     held on January 28, 2017 due to lack of compliance with numerous obligations
2~
     pursuant to Section 613 of Santa Monica City Charter and Section 1.04.020 ofthe
Zs
                      PLAINTIFF'S MOTION FOR PARTIAL SUMMARY JUDGMENT

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Case 2:17-cv-07727-PSG-JEM Document 80 Filed 05/21/18 Page 15 of 20 Page ID #:1422




     Santa Monica Municipal Code and California Government Code Section 54956
 2
     (RFJN 9 & 10).
 3
           The possibility exists that the meeting location was changed due to the fact
 4
     that the location had not been previously designated by the City Council as a
 s
     meeting location by ordinance or resolution pursuant to Section 613 of Santa
 6
     Monica City Charter, but the probability exists that the council deliberately wanted
     to keep the meeting from the public. Regardless, under such circumstances, the
 s
 9   meeting was wholly improper, as a new updated agenda would have needed to be

io   generated reflecting the new location for the meeting. Notice would then have

ii   needed to have been given to the public at least 24 hours prior to the meeting

12   pursuant to Section 1.04.020(a) ofthe Santa Monica Municipal Code and notice
13   given to the City Council members as well pursuant to Section 1.04.020(b) ofthe
14   Santa Monica Municipal Code and California Government Code Section 54956.
15   As such notice was clearly never given, the January 28, 2017 City Council meeting
16   should never have been held and any actions taken at that meeting are therefore
i~   invalid.
ig         Even if the meeting was somehow appropriately held (which it is not) nder
19   the counter-initiative the City filed in 2014 against pilots ofthe Santa Monica
Zo   Airport, the City Council itself reserved all authority to regulate, manage, and
Zi   permanently close all or part ofthe Santa Monica Airport. This initiative was
a2
     codified as City Charter section 640(RFJN 11). When Rick Cole as City Manager
23
     signed the Decree(RFJN 12), there was no resolution or ordinance ofthe City
24
     Council authorizing the Settlement/Decree(RFJN 8), let alone authorizing City
2s
     Manager to act on behalf ofthe City Council. furthermore. Charter section 640
26
     states "City Council" not the "City Manager" and the oral report out of a closed
a~
     session by the City Attorney had no force to abrogate Charter section 640. The
as
                      PLAINTIFF'S MOTION FOR PARTIAL SUMMARY JUDGMENT

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Case 2:17-cv-07727-PSG-JEM Document 80 Filed 05/21/18 Page 16 of 20 Page ID #:1423



 1
     Charter acts as an instrument of limitation on the broad power ofthe charter cities
 2
     over matters of municipal affairs. City ofGlendale vs. Trondsen (1957) 48 Cal.2d
 3
     93, 98. The City Manager's authorization never existed under Charter section 640
 4
     and the City Manager power to sign the Decree was never granted by the City
 s
     Council by resolution, or otherwise.
 6
           The Decree never actually appeared as an agendized item for public scrutiny
     before the City Council approved and before the City Manager signed it
 s
 9
     demonstrating a lack of a formal City Council action, resolution, or ordnance

io   empowering the City Manager to act on behalf of the City Council or the City

ii (RFJN 7 & 8).
12         Lastly, the members allegedly at the closed session meeting, included the
13   Mayor "Ted" Winterer(RFJN 8), who was precluded from authorizing the City
14   Manager to sign the Decree in a closed session as he has/had a conflict of interest
l5   due to the fact that it is undisputed that he lives under the flight path for Runway
16   21 and would benefit financially and otherwise from the closure of the airport
i~ (TAC ¶¶ 98-101; Declaration of Barry Rosen ¶14, Exhibits 3 and 4). The action
1g   approving the Decree also required an open session action and vote to approve the
19   Decree under the City's own Charter section 613, as well as a vote was needed to
Zo   override and/or confirm Mayor Winterer's (financial) conflict of interest.
ai         The City's own Charter required compliance with the City's Charter section
22
     640 which would prohibit a closed session action to approve the Decree. In
23
     addition, both the California Political Reform Act and the more stringent
24
     provisions under Section 1302 ofthe Santa Monica City Charter(RFJN 13)
Zs
     required Mayor Winterer to recuse himself in open session and the City Council
26
     vote, without the recused Mayor, to approve the Decree by resolution and
a~
     authorize the City Manager to sign the Decree, the City Manager was expressly
Zs
                      PLAINTIFF'S MOTION FOR PARTIAL SUMMARY JUDGMENT

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Case 2:17-cv-07727-PSG-JEM Document 80 Filed 05/21/18 Page 17 of 20 Page ID #:1424




     prohibited under Charter section 704(RFJN 14)from signing the Decree as the
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     power was expressly reserved by the City Council under Charter section 640. As it
 3
     is undisputed that here was no resolution adopted in open session, or otherwise,
 a
     demonstrating the City Council conformed with Charter section 640,the City
 5
     Manager was not authorized to sign the Decree.
6
           2.Issues related to the FAA
           Under Section VIII, Paragraph D ofthe Decree, the representatives of the
 s
 9
     FAA and City certify they are authorized to enter into the Decree, also referenced

io   as a settlement agreement concerning the disposition, status, and closure ofthe

ii   Santa Monica Airport. However, the signatories Reginald C. Govan, as Chief

is   Counsel ofthe FAA and Gary D. Feldon, as US Attorney did not have the
13   conferred authority to accomplish the feats attempted in the Decree(TAC ¶¶79-80,
14   RFJN 12).
15         As the Decree is a contract performed wholly in California, under California
16   law, and specifically, Davidson vs. Sup. Ct. (City ofMendota)(1999)70
i~   Ca1.App.4th 514, 528, a settlement agreement was held unenforceable because it
18   was based on stipulated settlement signed only by attorneys. Here, neither
19   Reginald C. Govan is not the authorized executive officer signatory ofthe FAA or
Zo   the appropriate executive officer or administrator of the FAA; Mr. Govan is a
21
     lawyer signing the equivalent of a settlement agreement, he is Chief Counsel; Gary
as
     D. Feldon is a US Attorney(TAC ¶¶79-80, RFJN 12). Therefore, under California
23
     law,the signatures of Messrs. Govan and Feldon did not bind the FAA. Davidson
24
     vs. Sup. Ct. (City ofMendota)(1999) 70 Cal.App.4th 514, 528. Furthermore, it is
2s
     clear that and essential party, namely the administrator of the FAA; who was
26
     named/sued in his official capacity, did not sign off on the Decree(RFJN 12). The
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                      PLAINTIFF'S MOTION FOR PARTIAL SUMMARY JUDGMENT

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Case 2:17-cv-07727-PSG-JEM Document 80 Filed 05/21/18 Page 18 of 20 Page ID #:1425




     signatories executing the Decree on behalf of the FAA did not have authority to
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     bind the FAA or the City, thus further rendering the Decree void ab initio.
3
            Plaintiff believes that the Decree should be held invalid and unenforceable
4
     as the signatories placing their signatures on behalf ofthe FAA and City did not
s
     possess the authority to bind the FAA and City to the Decree and their signatures
6
     and the Decree should now be struck down for failure to comply with the
     appropriate California law and Santa Monica Charter.
 g
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                       F.     Plaintiffs Standing to Bring this Action

io          Plaintiff brought this Action on his own behalf, as an affected party and as a

ii   Private Attorney General on behalf of others similarly situated due to numerous

12    violations of various ministerial obligations on the part of both Defendants and a
13   complete lack of public transparency (Declaration of Barry Rosen ¶¶15-17).
14          As a further showing of Standing, in Centerfor Biological Diversity vs.
is   Kempthorne (9th Cir. 2009)588 F.3d 701, 707-708, organizations devoted to
16    protecting the habitat of protected species had standing to challenge regulations
i~    authorizing a take of polar bears and walrus under letters of authorization to be
is    applied for by individual oil and gas operators. Mere viewing ofthe animals in
19    affected areas and plans to return was sufficient standing. In addition, standing wa
Zo    sufficient by private pilot users just by mere usage of an airport in NRDC,Inc. vs.
21
     FAA (2nd Cir. 2009)564 F.3d 549, 555. Here Plaintiff is a commercial pilot who
Za
      regularly uses Santa Monica Airport and has been damaged by Defendants actions
23
     (Declaration of Barry Rosen ¶¶16-17). Also, as in the Center for Biological
24
     Diversity as well as the NRDC actions, the relief Plaintiff seeks is corresponding
Zs
      and would in fact remedy the alleged harm.
26

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                       PLAINTIFF'S MOTION FOR PARTIAL SUMMARY JUDGMENT

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Case 2:17-cv-07727-PSG-JEM Document 80 Filed 05/21/18 Page 19 of 20 Page ID #:1426



 1
     IV. CONCLUSION
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 3         Because the undisputed facts establish that neither the City of Santa Monica,
4    nor the FAA complied with their legal obligations and that the Action and Decree
 s   resulting therefrom, this Court should grant Rosen's motion and enter an order
6    adjudicating such liability and striking the 2017 Settlement Agreement/Consent
     Decree between the City of Santa Monica and FAA.
 g
 9
     Dated: May 21, 2018                                              ._`--..
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ii                                                B
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i2                                                Barry Rosen, In Propria Persona

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                     PLAINTIFF'S MOTION FOR PARTIAL SUMMARY JUDGMENT

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 Case 2:17-cv-07727-PSG-JEM Document 80 Filed 05/21/18 Page 20 of 20 Page ID #:1427




 1
                        PROOF OF SERVICE BY MAIL
 2
     Case No. 17-CV-07727-PSG-JEMx
 3
     On May 21, 2018, I served the documents described as:
4
        1.      Plaintiffs Notice of Motion and Motion for Partial Summary Judgment
 5
        2.      Declaration of PlaintiffISO Motion for Partial Summary Judgement
6
        3.      Plaintiff's Request for Judical notice ISO Motion
        4.      Plaintiff's Statement of Uncontroverted Facts
 s
9
        5.     (Proposed) Order granting Motion

io   on all interested parties in this action by placing a true and correct copy thereof in

i~   sealed envelope, with first-class postage prepaid thereon, and deposited said

12   envelope in the United States mail at or in Los Angeles, California,
13   Addressed to:
14   Ivan Campbell                                   Gary Feldon
15   Santa Monica City Attorney                      US,DOJ
16   1685 Main Street, Third Floor                   Civil Division, Federal Program
t~   Santa Monica, California 90401-3295            Branch
~s                                                  200 Massachusetts Avenue NW
19                                                   Washington, D.C. 20530
zo
21

22
             I declare under penalty of perjury that the foregoing is true and correct.
23
     Executed on May 21, 2018 at Los Angeles, California.
24

25
                                                                 ,~ D~cJ
26                                                  B               ~ ~~-
2~                                                   Arthur Ruben

28
                                     PROOF OF SERVICE BY MAIL
